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                                                                           GOVERNMENT
                                                                             EXHIBIT
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                                                                            1:18-CR-457




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             Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 6 of 34 PageID# 1506
    From:                   Michael Boston
    Sent:                   Thursday October 13 , 2016 8:07 PM
    To:                     'Bijan Kian'
    Subject:                Talking Points for Oct 14
    Attach:                 Talking points 10142016.docx; Gulenopoly Board(l).pdf; Politico .pptx; Gulenopoly
                            Citations(l).docx· Gulen Briefing Sheet(l).docx- imageOOl.jpg


    Bijan:

    Please see all of the attached documents for tomorrow's call. As you may know the boss is in the air now and gets in
    tomorrow afternoon. Does Michael G have the call scheduled for him?

    The attached are:

    Talking points-please edit and add content to as necessary and as there were/are events and material I might not be aware
    of. The comments within are extensive and reflect the incredible work done in the last week ...
    Gulenopoly-great start for a draft. Also attached citations for reference and as they apply to confidence and credibility.
    We might want to forward this to Ekim for review and comment ...and to show we are moving fast with this.
    Politico-screen shot of the story S        got them to include in their online media. It is the last bullet about the Charter
    Schools in LA.
    Gulen Briefing-Initial draft of the points we will make with the          folks.



    Thanks for picking up the call notes ...only as a suggestion and if you think it might assist you ... Carl might be a wonderful
    scribe ... this will allow you to listen to the conversation versus having to do that and write at the same time ...



    The team is coming together. I do need to continue to sync their respective efforts. Example is the efforts of Brian and his
    team with identifying schools et al. Much of this info exists within the team already ... 1'11 get on tightening the shot group
    up next week, so he isn't spending time doing that when it is better served investigating!

    As a further thought, can I suggest that you drop Brian-and Tom, Emalee and Graham a short note with the boss CC'ed
    giving them a morale shot for the work to date, but more specifically this week? I don't need to be part of 'shot' .. ..



    Let me know what else I can do to assist with this.

    Best,
    Mike
    On the Square
       Image
       result
       for




    Talking points 10142016.docx .tdf (651KB)
    Gui enopoly.Board( l.}.pdf..tdf(728 .08KB)
    Politico.pptx .tdf (623 .98KB)                                                                               GOVERNMENT
    Gulenopoly _Citations(}). docx .. tdf.(16 .24KB)
                                                                                                                   EXHIBIT
    Gulen Briefing Sheet(l).docx .tdf (18.57KB)
    i.m."1:g~Q.9.J.,iP.g. ._r9.f..C9.4.4~.)                                                                             43A
                                                                                                                   1:18-CR-457


CONFIDENTIAL                                                                                                         FIG- EDVA- 00000892

                                                                                                       US_v_Kian_00001225
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                      PROJECT CONFIDENCE

                               Talking Points

                             October 14, 2016

                          FIG CONFIDENTIAL
                                  NOT FOR DISTRIBUTION



                                             GOVERNMENT                          1
                                               EXHIBIT
                                                 43B
CONFIDENTIAL                                                                FIG- EDVA- 00000893
                                              1:18-CR-457
                                                                   US_v_Kian_00001226
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          Phase Zero

          August 15- September 15

          Define       the   subject's   sphere    of   influence,     advantages      and
         vulnerabilities. Design an effective strategy with tactical and strategic
         goals.

          Findings:

          INFLUENCE
         The subject enjoys widespread support in congress. There is little or
          no real opposition to the subject's presence or activities. There are
         strong indications that the subject has built strong advocacy on the
          Hill. Likewise, there are strong indications that the subject has bu ilt
         an influence network in a number of key states. The public perception
         about the subject is generally positive.

         ADVANTAGES
         The subject is widely viewed as a legitimate political dissident
         seeking refuge in the United States. The request for extradition has
          raised the subject's public appraised value. This action has created
         even      a    stronger   shield   for   the   subject.     Consolidation     and
         centralization of power by the leadership in the subject's home
         country provides an easy conclusion by the public that he is an old
          man of God despised by an authoritarian leader in his home country.
          Any criticism of the subject's acts is immediately interpreted as
          " political pressure" , illegitimate "smear campaign" and unjust attacks
         on a nice old man. Our asymmetric assessment indicates that an
         announcement lifting the extradition request by the home country will


                                                                                          2




CONFIDENTIAL                                                                         FIG- EDVA- 00000894
                                                                          US_v_Kian_00001227
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          reduce public appraised value of the subject. This action, if executed
         will open the space necessary for public scrutiny of the subject's
         activities. This action will reduce the subject's shield of legitimacy as
         a political dissident. The Extradition request has made the subject a
          lot more important that he really is.

          VULNERABILITIES

         The subject organization operates over 150 U.S. tax payer funded
         charter schools in 28 states. There are a number of irregularities in
         the operation of said schools. Legal professionals have shed light on
         these irregularities in the states of Ohio and Texas. Importing
         teachers from      Turkey presents a number of easily observed
          irregularities that may prove to be direct violations of U.S. law.
          Creative/improper financial operations by the subject's organization
         offer a strong opportunity to unmask the true nature of dangerous,
         strategic activity under the guise of education. There may be illegal
          political   contributions   to   political   campaigns   and   nonprofit
         organizations also pose a potential vulnerability which will be
         explored. When the subject's methods are compared to theoretical
         and historical teachings of Islamic Political activists of Hasan Al
          Banna, founder of Muslim Brotherhood (1928), Sayed Qutb (1950s-
          1960s), and deeper in the history, Hasan Sabbah (late 11th century),
         there are strong indications that the subject is very likely conducting
         the first phase of Jihad by slowly building a global loyal force to be
         activated at the right time. Subject lectures provide easily observed
          indicators of his long term objective. The resemblance of the
         subject's activities to Ayatollah Khomeini who duped the west in


                                                                                 3




CONFIDENTIAL                                                                FIG- EDVA- 00000895
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          believing that he was a man of the cloth and a benevolent servant of
         the people serves as a basis to uncover and unmask the subject's
          ultimate goal of destabilizing his home country and the region.



         TACTICAL and STRATEGIC Countermeasures

          Devise specific actions to restrict the subject's influence. Exploit the
         vulnerabilities and reduce the systemic advantages enjoyed by the
         subject to open space for strategic goal on unmasking the subject's
          ultimate goal. We have determined that unmasking the subject's true
         objectives requires unmasking his most visible violations. Tactically,
         we will search, find and expose the subject's clear violations,
          influence operation, financial irregularities, illegal contributions, and
         violations of immigration law. As the legal professionals uncover and
         engage the subject's activities in the legal arena, we will expose the
         subject   in   the   public   arena.   Concurrently   with    our tactical
         engagement, we are producing a short video suitable for quick and
         wide distribution to key influence providers to the subject including
          but not limited to members of congress and key law enforcement
         agencies. Our strategic communication advisors have confirmed our
          plan that it is essential to have an easy to access, portable (easy to
         distribute) means of educating the influence providers to the subject.
         The ultimate aim of the video production is to ask the question:

          IS THE SUBJECT ENGAGED IN THE FIRST PHASE OF JIHAD?




                                                                                  4




CONFIDENTIAL                                                                 FIG- EDVA- 00000896
                                                                      US_v_Kian_00001229
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         PHASE ONE

         September 15- October 15

          Operationalize         the    plan.     Harmonize          Cyber   Research,       Field
         Investigations,         Strategic      Communications           and      Congressional
         outreach.



         ACTIONS

               •   Identified key organizations and individuals in the subject's critical circles.
               •   Engaged subject's key supporter in Congress. No major change of position
                   by the supporter. However, feedback suggests that the supporter is
                   alarmed by receiving additional relevant, fact based information and is
                   likely to reduce support for the subject.
               •   Briefed senior staff at the Homeland Security Committee with the aim of
                   organizing a hearing on the subject's activities and strategic aims.
               •   Have deployed an experienced videography team (brand names Aljazeera,
                   France 24) and a former CNN Anchor to create credible, durable, easy to
                   distribute document in the form of a short video.
               •   Have interviewed/created effective footage of three victims of the subject' s
                   activities in his home country
               •   Have secured the opportunity for testimony by experts on the subject's
                   masked activities, Sebastian G       , Philip H      Steve E         and other
                   credible witnesses who are authorities on the subject of political Islam,
                   lslamism and Jihadism.
               •   Our investigation team is engaged in the field within the boundaries of U.S.
                   law.
               •   Our Cyber research team is also engaged within the boundaries of U.S. law.
               •   There is a total of 5 professional investigators in the field headed by our
                   principal in charge of investigations.



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CONFIDENTIAL                                                                                FIG- EDVA- 00000897
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               •   Cyber research team is comprised of 3 highly skilled professionals.
               •   The strategic communications team is actively reviewing and designing a
                   creative tool to convey the masked operation of the subject. We expect the
                   tool to be fully developed and ready for distribution in short order.


                   The aim of the investigation is to uncover undisputable unlawful activities
                   of the subject and his organization and make a criminal referral.




          RECORD OF CONVERSATION WITH CLIENT


         October 7, 2016, 1500 EST


          DISCUSSION


                   A broad overview of the engagement was given and then the discussion
                   focused on the key discussion points below.


               •   Identify their lobbyist at the Federal/State/Local level. Look for how they
                   influence, donations from those they lobby, etc.


               •   Extradition has increased the public's view of the subject positively. This
                   approach is not working and the requesting authority should consider
                   alternative strategies by defining the subject differently. A follow on call
                   with the client was suggested.


               •   We will engage specific members of Congress to highlight the subject's
                   activities and focus our efforts on 'boxing'/'framing' the subject as a
                   terrorist. Optimistic timeline is before Christmas recess. Realistic timeline
                   is January 2017.




                                                                                                6




CONFIDENTIAL                                                                               FIG- EDVA- 00000898
                                                                                US_v_Kian_00001231
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               •   Seek those or find testimony of those teachers that indicated they have a
                   portion of their respective salaries reduced/cut/exploited and then try to
                   track where the money goes.


               •   We will provide a Social Media analysis within two weeks.


               •   Rule of Law items/issues that we c an gain a criminal referral on are the
                   ultimate aim of our work.


               •   Start a strategic outreach campaign for the next President ... regardless of
                   party.


               •   The USA relationship with subject's home country will not improve until the
                   issue of extradition is addressed at the highest levels of the USG and them.


               •   Seek to identify links/trails to the C        Foundation and the C
                   Campaign from the assorted Charter Schools and affiliated subject
                   organizations.


               •   We will attempt to have an Op Ed written that links funding, lslamists and
                   the subject et al as Mullahs/Imam's.



         CLIENT FEEDBACK



               •   Seek to uncover-[SIC)legally new original material not currently in the
                   public domain.



               •   Explore Tony P              's involvement with subject organization and
                   affiliates.




                                                                                              7




CONFIDENTIAL                                                                            FIG- EDVA- 00000899
                                                                               US_v_Kian_00001232
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               •   Republican Presidential candidate has not defended subject's home
                   country publicly.     He should specifically ask questions about subject's
                   operations and funding.



          POST CALL DISCUSSION



               •   Social Media analysis. Random sample of subject Charter Schools, their
                   leadership, FB, Twitter et al.



               •   Capture your respective 'Lessons Learned' so we can start to aggregate
                   these findings into a matrix that focuses on funding of these multiple
                   entities.   As in who funded abc, how they funded abc, the outcome of
                   funding abc, which we can then derive what do we do next.



          September 15- October 15

          Operationalize          the     plan.     Harmonize   Cyber       Research,   Field
          Investigations,         Strategic         Communications     and    Congressional
         outreach.



          CLOSE OUT OF PHASE 1 ACTIONS AND DISCUSSION



         We continue to explore avenues of open source investigation of
         subject's schools in the US.                 This is an ambitious list that when
         completed is expected to help narrow the focus regarding who among
         subject's school organizers and/or supporters may have possible
         associations with              terrorist organizations      such    as the Muslim

                                                                                             8




CONFIDENTIAL                                                                            FIG- EDVA- 00000900
                                                                              US_v_Kian_00001233
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          Brotherhood. More importantly, this is the best way to obtain such
          information (i.e., via financial investigation and/or surveillance, or via
         other sources).



          Our ongoing research has concluded that the schools were the
          brainchild of the iconic, but reclusive, 75-year old subject, a Sunni
          Muslim cleric from his home country whose has a reported 3 and 6
          million followers who regard him as their spiritual leader. The
         subject's movement in his home country is known as Hizmet. For the
          past 17 years, subject has resided on his highly protected country
         estate in the shadows of the Pocono mountains near Saylorsville,
          Pennsylvania. To his advocates, subject is a pious imam who
          promotes a tolerant Islamic view stressing the importance of hard
          work, benevolence and education. To his detractors, he is powerful
         and crafty politician committed to overthrowing the existing order in
          his home country. In the US, he was barely known, except to teachers
         and students who have defected from his schools, concerned
          parents, and to auditors for Charter schools, grant providers, public
         official's and even to investigative agencies such as the FBI,
         concerned about possible fraud and other criminal violations until the
          most recent coup attempt in the subject's home country.



          It should be noted that the term "subject's name schools" is actually a
          misnomer and is not used by the schools themselves, although for
         simplicity, we will use this term hereafter to refer to the general
         aggregation of these schools. In states where the subject schools

                                                                                   9




CONFIDENTIAL                                                                  FIG- EDVA- 00000901
                                                                    US_v_Kian_00001234
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          have the greatest presence, they use innocent sounding names such
         as Harmony Schools (Texas), Magnolia Science Academy (California),
          Horizon Schools (Ohio, Illinois), and Sonoran Science Academy
          (Arizona).



          Many people do not realize that merely being a supporter of subject
         schools is not a crime. In fact, during the past several years, many
          members of Congress (bipartisian) have been courted by subject
         schools, even taking paid trips to subject's home country, to meet
         with subject adherents extoling the virtues of their schools. Many
         graduates of these schools, though precise numbers are seldom
          reported, reportedly move on to college and successful careers. The
                       Foundation has reportedly made a sizeable donation to
         subject schools, and the                Foundation appears to be the
          largest benefactor. President Obama reportedly visited and praised
         the work being done in the Harmony School in Washington, DC.



         The creation and operation of subject schools in the US appears to be
         the result of a broad strategy that involves the use of a sophisticated
          business model with complex organizational structuring, multiple
          layers of private and public funding, clever marketing, and aggressive
          legal representation in the context of an educational system t hat by
          its very design, though certainly not intended, is ripe for abuse and
         exploitation.




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CONFIDENTIAL                                                                 FIG- EDVA- 00000902
                                                                   US_v_Kian_00001235
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               •   Continue to Identify key organizations and individuals in the subject' s
                   critical circles and areas of influence.
               •   Continue to 'flesh' out the details to brief the senior staff at the Homeland
                   Security Committee with the aim of organizing a hearing on the subject's
                   activities and strategic aims with an optimistic timeline of before the
                   Christmas recess, with a realistic timeline of January 2017. Our team is
                   already in the process of preparing relevant material which highlights the
                   subjects
               •   The vi deography team (brand names Aljazeera, France 24) and a former
                   CNN Anchor are reviewing and having footage subtitled in English of the
                   three victims of the subject's activities in his home country.
               •   Our investigation team is engaged in the field within the boundaries of U.S.
                   law.
                                Develop spreadsheet of U.S.-based subject schools to include
                               when opened or, if closed, reasons why.
                               Compile history of criminal or civil suits against subject
                               schools.
                                Locate and review both pro-subject & anti -subject websites to
                               identify perspectives, biases, and methods used by the latter to
                               support their stated intentions.
                               Identify political leaders at the local and national level who ae
                               either supporting or criticizing subject schools, and summarize
                               their respective arguments
                               Identify journalists reporting on subject schools and explain
                               their unique areas of focus
               •   Our Cyber research team is also engaged within the boundaries of U.S. law
                   and is conducting baseline monitoring of a multitude of Social and
                   traditional Media sites.

                      Subject Related Websites:

                      •   91..J!~nrnoye_m~nt.G9


                                                                                              11




CONFIDENTIAL                                                                             FIG- EDVA- 00000903
                                                                                US_v_Kian_00001236
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                  •   fgulen .com/en
                  •   gulenmovementca.blog_spQt.ca
                  •   fethullah-gulen.org
                  •   fethullahgulenforum.org
                  •   gulenmovement.us

                  Associated Hashtags:

                  •   #GulenMovement
                  •   #HizmetMovement
                  •   #FethullahGulen
                  •   #Hizmet
                  •   #gulenistes
                  •   #NeverForgetJuly15
                  •   #FETO

                  Associated Social Media Accounts:

                  •   facebook.com/GulenMovementCanada
                  •   plus.google.com/+FethullahGulenEN

                  Associated You Tube Accounts:

                  •   youtube.com/channel/UCDflDhRLl7M3251ytaRlmQtQ
                  •   youtube.com/channel/UCykpGY1ylAF6rP1zuwrJC2A
                  •   youtube.com/channel/UC-5 J80Fi71r92C8h8mmevg

                  He's in the News:

                  •   dailysabah_.com/war-on-terror/201.6/1,D/1.2/3-gulen-linked-charter-schools-in-
                      california-face-closure
                  •   latimes.com/local/lanow/la-me-edu-magnolia-charter-ties-to-gulen-20160829-
                      snap-story.html
                  •   dailysabah.. com/war-on-terror/2016/1,D/10/us-must-show-tu rkey-empathy~over-
                      g ulens-extradition-justice-min ister
                  •   dailysabah ._com/war-on-terror/2016/10/10/iraqi-kurd ish-administration-seizes-
                      schools-ru_n-by-g1,Jlenists
                  •   reuters.com/article/us-un-assembJy-turkey-erdogan-idUSKCN11Q2K5
                  •   france24.. com/en/20160916-turkey~coup-fethullah-gu.len-extradition-how-will-us-
                      respond
                  •   dailysabah.com/war-on-terror/2016/09/ 15/top-eu-officials-admit-regret-over-
                      fa iIure-to-qrasP: f etc-threat
                  •   daiJy~abah.com/war-on-terror/2016/09/09/pkk-terrorists-informed-about-.9.ulenist-
                      coup-attempt-in-advance
                  •   shaber3. com/inanmad_iniz-aldattini+-sayin-bozda9:haberi/1273365
                  •   lehiqhvalleylive.com/news/index.ssf/2016/07/rare look at .exiled turkish cl.. html




                                                                                                      12



CONFIDENTIAL                                                                                     FIG- EDVA- 00000904
                                                                                    US_v_Kian_00001237
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                      Ch arter Schools :

                      •   Website:
                      •   charterschoolscandals.blogspot.com/p/list-of-us-gulen-schools.html
                      •   Last Updated 12/7/2015

                      60 minutes:

                      •   youtube.com/watch?v=ktl--1,DnM?I

                      Ties to            :

                      •   dailycaller. com/2016/07 /13/new-ties-emerg_e-between       -and-mysterious-
                          islamic-cleric



               •   The strategic communications team has developed a very complex
                   approach to their efforts which include a Strategic Objectives; Target
                   Audiences, and Activities and Timing.


                                    They are actively designing a creative visual tool to convey the
                                    masked operation of the subject. A copy of the initial draft is
                                    done and is attached.    We expect the visual tool to be fully
                                    developed and ready for distribution in short order. The draft
                                    "wireframe" version of the board and a citation document which
                                    provides public record of the " accusations" within the board.
                                    We welcome any and all feedback and will continue working to
                                    build out a more " produced" version with graphics, etc.
                                    Active engagement of media outlets.
                                •    Drudge Report and have followed up with several different
                                     articles and angles.    (        foundation connections, etc.)
                                     Drudge Report has an unprecedented active readership and
                                     even if they don't use this development, they are confident the
                                     outreach this week will serve as a strong foundation for future
                                     coverage.



                                                                                                         13




CONFIDENTIAL                                                                                     FIG- EDVA- 00000905
                                                                                      US_v_Kian_00001238
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                       •    Politico Morning Education - We have also compiled this
                            week' s coverage of both Ohio and California (LA TIMES)
                            coverage in hopes of inclusion in tomorrow (Thursday)
                            morning's daily email. Politico is a leading policy outlet and
                            the "Morning Education" email is a subscription based news
                            aggregator received by top education policy influencers in DC
                            and the around the country. See attached PowerPoint slide
                            with a screen shot of this coverage.
                           Teachers Unions - Teachers unions are a ripe ally in this project
                           given their automatic resistance to all things related to charter
                           schools. While our most impactful messaging might be on the
                           homeland security front, the education/teachers angle could be
                           a valuable flank that appeals to Democratic policymakers,
                           whereas Homeland Security might appeal more to Republicans.
                           As such initiated contact today with:
                       •    Gene Bruskin, formerly of the American           Federation   of
                            Teachers and author of "The Story Behind the subject Charter
                            Schools and Their Reclusive Founder" .        Have requested a
                            phone meeting to compare notes and gauge his interest in
                            participating in and assisting with the organization of an effort
                            to coalesce issue experts in his field to persuade policy
                            makers to take action. Updates to follow.
                           Policymaker Fact Sheet - Producing a briefing document ahead
                           of policymaker meetings.      An initial draft is complete and
                           attached.
                           High Ranking    State Level    Elected Official - Engaged in
                           conversation with a high ranking elected official in a state with
                           multiple subject Charter Schools. He is " extremely interested"
                           and we are briefing him soon, but wish to keep this outreach
                           confidential at the moment per his wishes.




                                                                                          14



CONFIDENTIAL                                                                          FIG- EDVA- 00000906
                                                                           US_v_Kian_00001239
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               PHASE TWO
               OCTOBER15-NOVEMBER15

               PHASE THREE
               NOVEMBER15-DECEMBER15

               CLIENT FEEDBACK?

               NOTES:




                     - Georgia Gov. Nathan Deal intensifies efforts to get voters to approve his
                     Opportunity School Distrlct:·;·n,c: A.;.l~::.-..:...., !';_.,s;:t~o=-~·.t'n>~;.:.i.ttfr:r~.

                     - Student government at the University of Maryland at College Park approves fee
                     to help fund Title IX office: :~s:,;;, m,,,;,,r i:,;.

                     - Wiklleaks emails show concern from the American Federation of Teachers after
                     former New York City schools <hief Joel Klein was rumored to be joining Hiilary
                     Clinton' s campaign: Ch«lk:;.-::it ~3·1\"; 't<..:k.

                     - Three Los Angeles charter schools may be shut do\\'n in part because they bring
                     in teachers from Turkey: <::'h~ t,;.~/ :.. :~~<..\·:·:-~ ':', ;'.·w:::.

                     B,:-x<·; <.:':<<n:te~? ·r}-.<· ?;,;>..'-:'\ , Pollow t he Pro Bducation tea.m:@:::•.\t:!:-.:r.-:·nm··?.
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CONFIDENTIAL                                                                                                                                                                         FIG- EDVA- 00000907
                                                                                                                                                                              US_v_Kian_00001240
        Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 22 of 34 PageID# 1522
    From:             Bijan Kian
    Sent:             Wednesday, · ovember 2, 2016 10:36 PM
    To:               Ekim Alptekin                         · Bob K
    Subject:          Getting Turkey Wrong
    Attach:           GETTING TURKEY WRO G.docx


    Ekim :

    A promise made is a promise kept. Please see attached 1000 word article. I appreciate it if you take a look and
    give me your thoughts at your earliest convenience. I am not certain how much of the text will survive review
    and edits but as you can see, the humble author is not shy.

    I am copying Bob as we move forward with executing the plan .

    All the best,

    Bijan




    Hon. Bijan R. Kian
    Vice Cha;,man of the Board of Directors
    Flynn In/el Group, Inc.




               HYNN !NT~L GRGUJ' INC .




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    GETTING TURKEY WRONG.docx .tdf (138 .5 kb)




                                                                                                      GOVERNMENT
                                                                                                        EXHIBIT
                                                                                                            45A
                                                                                                        1:18-CR-457

CONFIDENTIAL                                                                                             FIG- EDVA- 00005472
                                                                                            US_v_Kian_00001325
       Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 23 of 34 PageID# 1523




               GETTING TURKEY WRONG

               United States needs to understand Turkey's unique
               position not just as an important NATO ally but also as a
               key player in maintaining balance of power in a region
               enflamed in conflict. We will ignore this fact at our own
               peril. The U.S. needs to show Turkey that we understand
               the importance of keeping our alliance in the interest of
               regional and global security. Sadly, This administration
               is doing the opposite. President Obama's administration
               continues to give refuge to Fetulah Gulen, a shady cleric
               who President Clinton calls "his friend" in a well
               circulated video. Gulen has allegedly called the United
               States "the number one enemy". He has                  publicly
               boasted about his "soldiers" waiting for his order to do
               whatever he directs them to do. For those of us who
               have closely studied Seyed Qutb and Hasan Al Bana,
               the founder of Muslim Brotherhood, these words sound
               very familiar. Much similar to Gulen, Seyed Qutb was the
               author of 24 books on education and the arts. Much like
               Gulen, Qutb's inner circle consisted of influential
               politicians, intellectuals, poets and literary figures.
               Contrary to this well masked fa~ade, Qutb's writings

                                               GOVERNMENT
                                                 EXHIBIT
                                                   45B
CONFIDENTIAL                                    1:18-CR-457                  FIG- EDVA- 00005473
                                                                   US_v_Kian_00001326
       Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 24 of 34 PageID# 1524



               provided the inspiration for violent terrorist groups like
               Al-Qaeda.

               To professionals in the Intelligence Community, the
               stamp of terror is all over Mullah Gulen's statements.
               Hasan Al Bana defined the first phase of pre-emptive
               Jihad as a long and quiet process that can take as long
               as a quarter of a century to prepare the forces for a
               decisive strike. Al Bana famously declared that the only
               acceptable form of legislation is Sharia Law. Gulen's
               vast, global network has all the right markings to fit the
               description of a dangerous sleeper terror network. From
               Turkey's    point of view,      Washington       is   harboring
               Turkey's    Usama   Bin    Laden.    Washington's       silence
               speaks volumes when we hear the incredulous claim
               that the democratically elected president of Turkey
               staged a military coup, bombed his own parliament and
               killed the confidence in Turkey's strong economy just
               so that he could purge his political opponents. This
               ridiculous claim places the intelligence of its promoters
               in serious question. It is also a dark reminder of the
               vicious rumors spread by our enemies that 9/11 was an
               inside job by the American Intelligence apparatus as an
               excuse to invade Muslim lands to grab their oil! To add




CONFIDENTIAL                                                                 FIG- EDVA- 00005474
                                                                     US_v_Kian_00001327
       Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 25 of 34 PageID# 1525



               insults to injury, American tax payers are financing
               Fettulah Gulen's 160 charter schools in the United
               States. His charter schools have been granted more H1 B
               visas than Google. It is inconceivable to imagine that
               our visa officers have approved thousands of visas for
               English teachers whose English is incomprehensible. A
               CBS 60 Minutes program documented a conversation
               with one such imported English teacher from Turkey
               whose English was impossible to understand. Several
               law suits including some in Ohio and Texas point to
               irregularities in the operation of said schools. However,
               as money is no object for Gulen's network, hired legal
               guns and influential charitable organizations keep the
               lucrative source of income for Gulen and his network.
               Influential   charities   such   as   Cosmos       Foundation
               continue their support for Gulen's charter schools.
               Incidentally, Cosmos Foundation is a major donor to
               Clinton Foundation. No wonder President Clinton calls
               Mullah Gulen "his friend". It is now no secret that Ms.
               Huma Abedin, Secretary Clinton's close aide and
               confidant worked for 12 years as the associate editor for
               a journal published by the London based Institute of
               Minority Muslim Affairs. The institute has promoted the




CONFIDENTIAL                                                                 FIG- EDVA- 00005475
                                                                   US_v_Kian_00001328
       Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 26 of 34 PageID# 1526



               thoughts of radical Muslim thinkers such as Seyed Qutb
               and Qaradawi.

               The American public is lulled into believing that this
               elder cleric is a Sufi scholar who promotes the
               teachings of Rumi, the Persian poet, works to expand
               interfaith dialogue and does a great job by providing
               American youth great education in math and science as
               well as English. Voices of concern about this shady
               Mullah are quickly muffled by his vast network of public
               relations and legal professionals. He has established a
               false fac;ade that he is a freedom fighter set to topple
               Turkey's autocratic leader. This image is a stark
               reminder of another era and a great American mistake
               that has raised the cost of international security forever.
               We all remember another quiet bearded elder cleric who
               sat under an apple tree in Neauphle-Le-Chateau in the
               suburbs of Paris in 1978. He claimed to be a man of God
               who wanted to topple a dictator and return the power to
               the people. Washington believed him. Sadly, shortly
               after his rise to power through the Iranian revolution, we
               watched in horror as our diplomats were taken hostage
               for 444 days as we betrayed one of our strongest allies
               in the Middle East. The world has never been the same




CONFIDENTIAL                                                                 FIG- EDVA- 00005476
                                                                   US_v_Kian_00001329
       Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 27 of 34 PageID# 1527



               since that irreversible mistake. Ayatollah Khomeini, the
               quiet man of God under the apple tree created the
               world's top sponsor of terror. His revolutionary guards
               created Hezbollah, the world's famous Lebanon based
               terror   organization.     Ayatollah's      terrorists    killed
               American servicemen, slaughtered Iraqi Sunnis by the
               thousands and his brutal Quds Force killed innocent
               Sunni civilians in Syria. Ultimately, ISIS became the
               radical Sunni's response to the mayhem caused by our
               friendly Mullah under the apple tree. History does not
               repeat itself without people repeating the mistakes of
               the past. It is time we take a fresh look at the importance
               of Turkey and place our priorities in proper perspective.
               It is unconscionable to militate against Turkey, our
               NATO ally as Washington is hoodwinked by this masked
               source of terror and instability nestled comfortably in
               our own backyard in Pennsylvania. We need to adjust
               our foreign policy to place Turkey as a priority. We need
               to see the world from Turkey's perspective. What would
               we do if right after 9/11 we heard the news that Usama
               Bin Laden lives in a nice villa at a Turkish resort while
               running 160 charter schools funded by the Turkish tax
               payers? Time to end our romanticized foreign policy




CONFIDENTIAL                                                                 FIG- EDVA- 00005477
                                                                   US_v_Kian_00001330
       Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 28 of 34 PageID# 1528



               directives written by fiction writers and echo chamber
               specialists by their own blatant confessions.




               1002 Words.




CONFIDENTIAL                                                                 FIG- EDVA- 00005478
                                                                   US_v_Kian_00001331
              Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 29 of 34 PageID# 1529


 From :                              Bijan Kian
 Sent:                               Thursday, November 03, 2016 3:55 PM
 To:                                 LTG R Mike Flynn
 Subject:                            Re: Tim Kaine congratulates Gulenists in a letter • Rag1p Soylu • Daily Sabah



 Thank you Mike. I asked Ilank C to review and edit my I 000 word draft to make sure it is tight before I send it out to you. The
 plan is to go out with the piece on Monday. When we get a chance to talk, I will explain. Please expect the piece in an hour or two.


 Had a good meeting with S                  this morning.

 Sec you soon!

 Bijan




 Hon. Bija.n R. Kian
 Vice Chairman ofthe Board ofDirectors
 Flynn /11/lti Group, Inc.




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 On Thu, ov 3, 2016 at 2:21 PM, LTG R Mike Flynn                                                               wrnte:
 FYl.




 NEW YORK TIMES BESTSELLER

 "Tire Field of Fight, flow We Can Win tl,e Global War Against R,ulica/ Islam anti Its Allies"

 -Lt. General Michael T Flynn and Michael Ledeen

 -St. Martin' s Press

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 http_://pit_lyff.i~l9.9_fFjghtA111a~o11                                                                                                           47
                                                                                                                                            1:18-CR-457

CONFIDENTIAL                                                                                                                                       FIG_EDVA_00009834
                                                                                                                                US_v_Kian_00001338
        Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 30 of 34 PageID# 1530
    From:            Bijan Kian
    Sent:            Friday, ovember 4, 2016 7:41 PM
    To:              Ekim Alptekin
    Subject:         Update
    Attach:          TurkeyMTFl 132016.pdf


    Ekim :

    I just left MF. The arrow has left the bow!

    The attached article will be published on Monday . This is a very high profile exposure one day before the
    election . I told MF about your advice and concern . He wants you to know that he appreciates your professional
    and valuable advice on a personal level. I can tell you from working together closely for over a decade that he
    places significant value on this type of insights in the best military traditions.

    He wants you to know that our work does not end on ovember 15th. Our formal start date was August 15th for
    90 days which will be formally up on ovember 15th. He has directed the team to extend the time by 30 days to
    December 15th or 1S days after the submission of the teaser and the full video whichever takes place sooner.
    The teaser will go to the entire congress and selected USG agencies. The team is already
    communicating/educating USG on pertinent points.

    FG is a masked terrorist using United States Tax payers funds to destabilize our NATO ally. This, will not
    stand. Globally respected experts will match the characteristics to demonstrate what he is really after with his
    "soldiers" waiting to strike.

    Attached is the article for you . I know the pressure is high on time but I want you to know that MF and I are as
    dedicated to this effort as you are. We understand the intensity of the mission . It is hard to be patient
    sometimes.

    MF and I are confident that you will see a credible, easy to distribute piece that will help reveal this masked
    tetTorist's ugly acts.

    He is a slow moving cancer with a lot of "friends" . His "friends" are learning that what small benefits they may
    have been receiving from him is not worth the strategic threat to us and our NATO ally . U.S needs to show
    Turkey serious support. Images of centralization of power and authoritarian rule needs to be viewed in light of
    what is causing such drastic reactions. FG and his followers are destabilizing Turkey and the region. The
    awareness is growing inside the relevant circles. Hostile attitude toward Ankara is a bad policy that will be
    damaging to the long tenn interests of the United States.

    Talk to you soon,

    Bijan


    Hon . Bijan R. Kian
    Vice Chairman of the Board qf Directors
    Flynn Intel Group, Inc.

                                                                                                     GOVERNMENT
                                                                                                       EXHIBIT
                                                                                                           48A
                                                                                                       1:18-CR-457

CONFIDENTIAL                                                                                            FIG- EDVA- 00006170
                                                                                           US_v_Kian_00001340
       Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 31 of 34 PageID# 1531




               Our Ally Turkey Is In Crisis and Needs Our Support

               By: Lieutenant General Michael T. Flynn, (R)


                      It is fair to say that most Americans don't know exactly what to make
               of our ally Turkey these days as it endures a prolonged political crisis that
               challenges its long-term stability. The U.S. media is doing a bang-up job of
               reporting the Erdogen government's crackdown on dissidents but without
               putting it into perspective.
                      We must begin with understanding that Turkey is vital to U.S.
               interests. Turkey is really our strongest ally against ISIS as well as a source
               of stability in the region. It provides badly-needed cooperation with U.S.
               military operations. But the Obama Administration is keeping Erdogen 's
               government at arm's length, an unwise policy that threatens our
               longstanding alliance.
                      The primary bone of contention between the U.S. and Turkey is
               Fetulah Gulen, a shady Islamic mullah residing in Pennsylvania who
               President Clinton once called his "friend" in a well circulated video. Gulen
               portrays himself as a moderate, but he is in fact a radical Islamist. He has
               publicly boasted about his "soldiers" waiting for his orders to do whatever
               he directs them to do. If he were in reality a moderate, he would not be in
               exile, nor would he excite the animus of the Erdogen government.
                      For those of us who have closely studied the careers of Seyed Qutb
               and Hasan Al Bana, the fo unders of the Muslim Brotherhood, Gulen's words
               and activities are very familiar. The late Seyed Qutb in particular was very
               much in the Gulen mold. Qutb was the author of 24 books on education and
               the arts. Much like Gulen, Qutb's assembled an inner circle consisting of
               influential politicians, intellectuals, poets and literary figw-es. But contrary
               to this well-masked fa9ade, Qutb' s writings provided the inspiration for
               violent terrorist groups like Al-Qaeda. Qutb was hanged in 1966 in Egypt for
               instigating rebellion.


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                                                      GOVERNMENT
                                                        EXHIBIT
                                                              48B
CONFIDENTIAL                                            1:18-CR-457                        FIG- EDVA- 00006172
                                                                                US_v_Kian_00001342
       Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 32 of 34 PageID# 1532



                      Likewise, Hasan Al Bana, an Egyptian who died in 1949, defined the
               first phase of pre-emptive Jihad as a long and quiet process that can take as
               long as a quarter of a century to prepare the forces for a decisive strike. Al
               Bana famously declared that the only acceptable form of legislation is Sharia
               Law.
                     To professionals in the Intelligence Community, the stamp of ten-or is
               all over Mullah Gulen's statements in the tradition of Qutb and Al Bana.
               Gulen 's vast, global network has all the right markings to fit the description
               of a dangerous sleeper ten-or network. From Turkey' s point of view,
               Washington is harboring Tw·key's Osama Bin Laden.
                      Washington's silence on this explosive topic speaks volumes when we
               bear the incredulous claim that the democratically elected president of
               Turkey staged a military coup, bombed his own parliament and undermined
               the confidence in Turkey's strong economy just so that he could purge his
               political opponents.
                     This baseless claim is a dark reminder of the vicious rumors spread by
               our enemies that 9/11 was an inside job by the American Intelligence
               apparatus as an excuse to invade Muslim lands to grab their oil!
                     To add insult to injury, American taxpayers are helping finance
               Gulen's 160 charter schools in the United States. These schools have been
               granted more HlB visas than Google. It is inconceivable to imagine that our
               visa officers have approved thousands of visas for English teachers whose
               English is incomprehensible. A CBS 60 Minutes program documented a
               conversation with one such imported English teacher from Turkey whose
               English was impossible to understand. Several lawsuits, including some in
               Ohio and Texas, point to inegularities in the operation of these schools.
                     However, funding seems to be no problem for Gulen' s network. Hired
               attorneys work to keep the lucrative government source of income for Gulen
               and his network going. Influential charities such as Cosmos Foundation
               continue their support for Gulen's charter schools. Incidentally, Cosmos
               Foundation is a major donor to Clinton Foundation. No wonder President
               Clinton calls Mullah Gulen "his friend". It is now no secret that Ms. Huma
               Abedin, Secretary Clinton's close aide and confidant, worked for 12 years as
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CONFIDENTIAL                                                                              FIG- EDVA- 00006173
                                                                               US_v_Kian_00001343
       Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 33 of 34 PageID# 1533



               the associate editor for a journal published by the London based Institute of
               Minority Muslim Affairs. This institute has promoted the thoughts of radical
               Muslim thinkers such as Qutb, Al Bana and others.
                      The American public is being lulled into believing that Gulen is a Sufi
               scholar who promotes the teachings of Rumi, the Persian poet, works to
               expand interfaith dialogue and does a great job of providing American youth
               high quality education in math and science as well as English. Voices of
               concern about this shady character are quickly muffled by his vast network
               of public relations and legal professionals. He has established a false fa9ade
               that he is a moderate at odds with Turkey's autocratic leader.

                     This image is a stark reminder of another era and a great American
               mistake that has raised the cost of international security forever. We all
               remember another quiet bearded elder cleric who sat under an apple tree in
               Neauphle-Le-Chateau in the suburbs of Paris in I 978. He claimed to be a
               man of God who wanted to topple a dictator and return the power to the
               people. Washington believed him. Sadly, shortly after his rise to power
               through the Iranian revolution, we watched in horror as our diplomats were
               taken hostage for 444 days in what was once one of our strongest allies in
               the Middle East.

                      The world has never been the same since that irreversible mistake.
               Ayatollah Khomeini, the quiet man of God under the apple tree created the
               world's top sponsor of terror. His revolutionary guards created Hezbollah,
               the famous Lebanon-based terror organization. Ayatollah's terrorists killed
               American servicemen, slaughtered Iraqi Sunnis by the thousands and his
               brutal Quds Force killed innocent Sunni civilians in Syria. Ultimately, ISIS
               became the radical Sunni's response to the mayhem caused by our friendly
               mullah under the apple tree.

                      History repeats itself when people repeat the mistakes of the past. It is
               time we take a fresh look at the importance of Turkey and place our
               priorities in proper perspective. It is unconscionable to militate against
               Turkey, our NATO ally, as Washington is hoodwinked by this masked

                                                                                             3




CONFIDENTIAL                                                                               FIG- EDVA- 00006174
                                                                                US_v_Kian_00001344
       Case 1:18-cr-00457-AJT Document 173-7 Filed 05/30/19 Page 34 of 34 PageID# 1534



               source of terror and instability nestled comfortably in our own backyard in
               Pennsylvania. We need to adjust our foreign policy to recognize Turkey as a
               priority. We need to see the world from Turkey's perspective. What would
               we have done if right after 9/ 11 we heard the news that Osama Bin Laden
               lives in a nice villa at a Turkish resort while running 160 charter schools
               funded by the Turkish tax payers?

                      The forces of radical Islam derive their ideology from radical clerics
               like Gulen who is running a scam. We should not provide him safe haven. In
               this crisis, it is imperative that we remember who our real friends are.




               1147 Words.

               Lieutenant General Michael T. Flynn is the former director of Defense
               Intelligence Agency and the author of New York Times Bestseller "The
               Field of Fight".




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CONFIDENTIAL                                                                            FIG- EDVA- 00006175
                                                                             US_v_Kian_00001345
